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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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10-03635-jpm   Doc 1-4   Filed 09/21/10 Entered 09/21/10 11:48:37   exh a 1   Pg
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